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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 FELIX MALDONADO, individually and on
 behalf of all others similarly situated,

                    Plaintiff,
         v.

 CERTIFIED AUTOMOTIVE LEASE CORP.                    CASE NO. 1:22-cv-01527-KMW-SAK
 DBA CAL AUTOMOTIVE,

                    Defendant.

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                     PURSUANT TO FED. R. CIV. P. 41(A)(1)(a)(ii)

        Plaintiff Felix Maldonado (“Plaintiff”) and Defendant Certified Automotive Lease Corp.

DBA CAL Automotive (“CALAuto” or “Defendant”), hereby stipulate to the dismissal of this

action, with prejudice, and with each party bearing its own attorneys’ fees and costs, pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii).

        NOW, THEREFORE, it is hereby STIPULATED and AGREED that Plaintiff Felix

Maldonado’s claims are dismissed with prejudice against Defendant Certified Automotive Lease

Corp.


 Dated: June 29, 2022

 Respectfully Submitted,                          Respectfully submitted,

 /s/ Kevin Laukaitis                               /s/ Justin J. Boron__
 Kevin Laukaitis (195202016)                      Justin J. Boron (250422019)
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 Attorneys for Plaintiff and the Proposed
 Class

 *Pro Hac Vice Applications Filed or
 Forthcoming




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                                CERTIFICATE OF SERVICE

       I, Kevin Laukaitis, hereby certify that on June 29, 2022, I caused to be electronically filed

the above document with the Clerk of the United States District Court for the District of New

Jersey using the CM/ECF system, which shall send electronic notification to all counsel of record.



                                                             /s/ Kevin Laukaitis
                                                             Kevin Laukaitis




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